

People v Konstantinides (2018 NY Slip Op 00309)





People v Konstantinides


2018 NY Slip Op 00309


Decided on January 17, 2018


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on January 17, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

REINALDO E. RIVERA, J.P.
MARK C. DILLON
RUTH C. BALKIN
SANDRA L. SGROI, JJ.


2006-02079
 (Ind. No. 605/04)

[*1]The People of the State of New York, respondent,
vGeorge Konstantinides, appellant.


George Konstantinides, Comstock, NY, appellant pro se.
Richard A. Brown, District Attorney, Kew Gardens, NY (John Castellano, Johnnette Traill, Joseph N. Ferdenzi, and Jill A. Gross Marks of counsel), for respondent.
Paul Skip Laisure, New York, NY (De Nice Powell of counsel), former appellate counsel.



DECISION &amp; ORDER
Application by the appellant for a writ of error coram nobis to vacate, on the ground of ineffective assistance of appellate counsel, a decision and order of this Court dated October 14, 2008 (People v Konstantinides, 55 AD3d 752, affd 14 NY3d 1), affirming a judgment of the Supreme Court, Queens County, rendered February 6, 2006.
ORDERED that the application is denied.
The appellant has failed to establish that he was denied the effective assistance of appellate counsel (see Jones v Barnes, 463 US 745; People v Stultz, 2 NY3d 277).
RIVERA, J.P., DILLON, BALKIN and SGROI, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








